
709 S.E.2d 365 (2011)
In the Matter of DUKE ENERGY CAROLINAS, LLC'S ADVANCE NOTICE OF PURCHASE POWER AGREEMENT WITH THE CITY OF ORANGEBURG, SOUTH CAROLINA and Joint Petition for Declaratory Ruling.
Appealed By Duke Energy Carolinas, LLC and the City of Orangeburg, South Carolina, Appellants.
No. 537P10.
Supreme Court of North Carolina.
June 7, 2011.
Kiran H. Mehta, Charlotte, for Duke Energy Carolinas, LLC.
Gisele L. Rankin, Staff Attorney, for Public Staff-N.C. Utilities.
Timika Shafeek-Horton, Associate General Counsel, for Duke Energy Carolinas, LLC.
Robert W. Kaylor, Raleigh, for Duke Energy Carolinas, LLC.
Leonard Green, Assistant Attorney General, for Using &amp; Consuming Public.
Len S. Anthony, Deputy General Counsel, for Progress Energy Carolinas, Inc.
Dwight W. Allen, for Progress Energy Carolinas, Inc.
John D. Runkle, for NC Waste Awareness and Reduction Network, Inc.
James P. West, Raleigh, for City of Fayetteville Public Works Commission.
Thomas J. Bolch, Raleigh, for City of Orangeburg, South Carolina.
James N. Horwood, Washington, D.C., for City of Orangeburg, South Carolina.

AMENDED ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Petitioner (City of Orangeburg) on the 21st of December 2010 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Respondents, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 7th of June 2011."
Upon consideration of the petition filed on the 21st of December 2010 by Petitioner (City of Orangeburg) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of June 2011."
